Case 04-03774              Doc 105-4           Filed 12/11/06 Entered 12/11/06 07:23:42                        Desc notice
                                                       Page 1 of 2



                          IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


                                          )
VICKI ESRALEW                             )
                                          )
      Debtor,                             )
__________________________________________)
                                          )
ROLLIN SOSKIN, et. al.                    )
                                          )
             Plaintiffs                   )                                          No. 04 A 3774
                                          )
             v.                           )                                          Judge Goldgar
                                          )
VICKI ESRALEW                             )
                                          )
             Defendant                    )


                                                   NOTICE OF MOTION

TO:       Thomas Crooks
          Three First National Plaza
          70 W. Washington
          Suite 1950
          Chicago, IL. 60602
          (Fax: 312-641-5220)


       On December 11, 2006, at 10:30 a. m., or as soon thereafter as counsel may be heard, I shall
appear before the Hon. Judge A. Benjamin Goldgar or any judge sitting in his stead, in the courtroom
usually assigned to him, Room 613, at 219 South Dearborn, Chicago, Illinois 60604, and present
then and there DEFENDANT’S MOTION FOR LEAVE TO AMEND HER ANSWER AND
AFFIRMATIVE DEFENSES , a copy of which is herewith served upon you.

                                                               /s/ Carey M. Stein
                                                               One of her Attorneys
ASHMAN & STEIN
150 North Wacker Drive
Suite 3000
Chicago, Illinois 606060
(312) 782-3484
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                                          CERTIFICATE OF SERVICE

        The undersigned attorney certifies that a copy of the within notice and motion was served
electronically through the Court’s ECF filing system on


                                          Thomas Crooks
                                          Three First National Plaza
                                          70 W. Washington
                                          Suite 1950
                                          Chicago, IL. 60602
                                          (Fax: 312-641-5220)

                                                                                     /s/Carey M. Stein


Carey M. Stein
ASHMAN & STEIN
Attorneys for Plaintiff
150 North Wacker Drive
Suite 3000
Chicago, Illinois 60606
(312) 782-3484


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